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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA

 

 

F"-ED byk>_ D.c.

DEC 1 6 2009

STEVEN M. LAR|MORE
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S. D. of FLA. - M|AM|

 

 

CDCs# 2003A97388
Case No.:
UNITED sTATEs oF AMERICA §
§ tr .
vs. §
§ ,
FRANCISCO leNT, § C l V-§ G R A H A M 7TORRES
COMPLAINT

 

 

 

TO THE HONORABLE UNlTED STATES DISTRICT COURT JUDGE:

The United States of America, plaintiff, alleges that:

Jurisdiction

l. This Court has jurisdiction over the subject matter of this action pursuant to Article III, Section

2, U.S. Constitution and 28 U.S.C. § 1345.

Veoue

2. The defendant is a resident of Miami-Dade County, Florida within the jurisdiction of this Court

and may be served with service of process at 17200 NW 29 AVE , MIAMI GARDENS, FL 33056.

The Debt

3. The debt owed the USA is as follows:

A. Current Principal (after application of all prior

payments, credits, and offsets)

B. Current Capitalized Interest Balance and
Accrued Interest as of Decen'lber 8, 2009

C. Administrative Fee, Costs, Penalties

D. Credits previously applied (Debtor payments,

credits, and offsets)

$4,550.18

$6,769.01

$0.00

$0.00

 

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E. Attorneys fees $400-00

 

Total Owed $11,719.19

The Certificate of Indebtedness, attached as Exhibit "A", shows the total owed excluding attorney's
fees and CIF charges. The principal balance and the interest balance shown on the Certiflcate of
lndebtedness is correct as of the date of the Certit`lcate of Indebtedness after application of all prior

payments, credits, and offsets. Prejudgment interest accrues at the rate of 3.73% per annum.

Failure to Pay

4. Demand has been made upon the defendant for payment of the indebtedness, and the defendant
has neglected and refused to pay the same.

WHEREFORE, USA prays forjudgment:

A. For the sums set forth in paragraph 3 above, plus prejudgment interest through the date of
judgment, all administrative costs allowed by law, and post-judgment interest pursuant to 28 U.S.C. §
1961 that interest on the judgment be at the legal rate until paid in full;

B. For attorneys' fees to the extent allowed by law; and,

C. For such other relief which the Court deems proper.

    
 

Respectfully subm`

Date: \>"\\\0 jU(\ By:

 

et Drive, Suite 225
Coral Gables, Florida 33143
Tel.305-665-9633

Facsimile 305-666-9714

Email:jenmargolis@bellsouth.net

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EXH|B|T "A"

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w

U. S. DEPARTMENT OF EDUCATION
SAN FRANCISCO, CALIFORNIA

CERTlFICATE GF lNDEBTEDNESS

Francisco P. Viant

3170 sw 8“‘ street #C319
Miami, FL 33135

SSN: xxX-xx-2217

I certify that Department of Education records show that the borrower named above is indebted to
the United States in the amount stated below plus additional interest from 09/11/07.

On or about 10/19/88, the borrower executed promissory note(s) to secure loan(s) of $4,000.00
from First Independent Trust Company at a variable rate of interest to be established annually by
the Department of Education. This loan obligation was guaranteed by Texas Guaranteed Student
Loan Corporation and then reinsured by the Department of Education under loan guaranty
programs authorized under Title lV-B of the Higher Education Act of 1965, as amended, 20
U.S.C. 1071 et seq. (34 CFR Part 682). The holder demanded payment according to the terms of
the note(s), and credited $0.00 to the outstanding principal owed on the loan(s). The borrower
defaulted on the obligation on 03/20/89, and the holder filed a claim on the guarantee

Due to this default, the guaranty agency paid a claim in the amount of $4,550. 18 to the holder.
The guarantor was then reimbursed for that claim payment by the Department under its
reinsurance agreement Pursuant to 34 CFR 682.410(b)(4), the guarantor charged the borrower
interest on the total amount paid to the holder. The guarantor attempted to collect the debt from
the borrower. The guarantor was unable to collect the full amount due, and on 08/25/94, assigned
its right and title to the loan(s) to the Department

Since assignment of the loan, the Department has received a total of $0.00 in payments from all
sources, including Treasury Department offsets, if any. After application of these payments, the
borrower now owes the United States the following:

Principal: $4,550. 18
lnterest: $6,138.97
Administrative/Collection Costs: $0.00
Late fees $0.00
Total debt as of 09/11/07: $10,689. 15

Interest accrues on the principal shown here at the current rate of 8.20% ata daily rate of $1.02
through June 30, 2008 and thereafter at such rate as the Department establishes pursuant to
section 427A of the Higher Education Act of 1965, as amended, 20 U.S.C. 1077a.

Pursuant to 28 U.S.C. § 1746(2), I certify under penalty of perjury that the foregoing is true and
correct.

 

Executed on: ' “/0-7 Narne:

enior Loan Analyst

   

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C and any other charges whletr may become due aa eat lo'th ln Paragraph F. All pnymer\te wlll be made to v l _
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